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                               IN THE UNITED STATES DISTRICT COURiJSDC. CLERK GREENVILLE. S,
                               FOR THE DISTRICT OF SOUTH CAROLINA                   2018 NOV 20 PH 2: 28
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                                                    )
Q I ii . I l ~ ~ s ,
Ferris H a r v l e y , _                            )
                                                            CIVIL RIGHTS COMPLAINT
                                                    )
-                  gs               t-Z             )            {WITH JURY DEMAND)
                 Plaintiffs,
                                                    )         42 USC §1983, §1985, §1986
vs.                                                 )

South Carolina Department of Social     )
                                                    )
                                                            12~(/UrlrfJ             ~~uJ7'
Services, Porcha Moore, Hannah Purnell, )
Gail Henson, Patricia Agger, Patience   )
                                                             It<d'v/cn;//           ~u.-, £F'
Johnson, Avery Martin, Susan Alford, Pam)
Bryant, Katie Whaley, Rosemerry         )
Felder-Commander, Mindy Zimmerman,
Matthew P. Turner, Joan Meacham,
Defendants.


I.      Parties:
      51117                                         ,$'
                     , age 8, (hereinafter . . ._.) suffers from post-traumatic stress disorder
(PTSD) as a result of being victim to physical abuse from a foster parent while unlawfully
detained in the custody of the South Carolina Department of Social Services.
Plaintiff Ferris Harvley (hereinafter "Ferris") is a disabled, indigent mother, aggrieved by the
kidnapping of her children by defendants and seeking injunctive relief in the form of an order
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                                            j                                   r~_be rett~rn~d to herrtcu~ttohdy
wI ou                   er In e erence rom e de,en ans or persons or en 11es ac mg m conce wI
the defendants.
Plaintiff Gary "Zak" Thomas aggrieved father persecuted by Sexist DSS personnel injured by
all events_de~ein.                          L
                                                8
Plainti-(hereinafter ,_.,,) is Ferris' 15-year old son, and sibling to Plaintiff

                                          .ss
                         (hereinafter ,,.._,,) is Ferris' 16-year-old disabled, "special needs"
daughter.
Defendant South Carolina Department of Social Services employs each of the above named
defendants and is ultimately responsible for the unreasonable infringements upon the rights of
the Plaintiffs.




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Defendant Porcha Moore, sued in individual and official capacities, and as a co-conspirator,
was at all times relevant to this Complaint a caseworker for Defendant South Carolina
Department of Social Services in and for Laurens County, South Carolina.
Defendant Patricia Agger, sued in individual and official capacities, and as a co-conspirator,
was at all times relevant to this Complaint a caseworker for Defendant South Carolina
Department of Social Services in and for Laurens County, South Carolina.
Defendant Patience Johnson, sued in individual and official capacities, and as a
co-conspirator, was at all times relevant to this Complaint a supervisor to Defendant Moore
and for Defendant South Carolina Department of Social Services
Defendant Avery Martin, sued in individual and official capacities, and as a co-conspirator,
was at all times relevant to this Complaint the director for the Laurens County Department of
Social Services.
Defendant Susan Alford, sued in individual and official capacities, and as a co-conspirator,
was at all times relevant to this Complaint the Statewide Director for Defendant South
Carolina Department of Social Services.
Defendant Pam Bryant, sued in individual and official capacities, and as a co-conspirator, was
at all times relevant to this Complaint assigned to the investigation into corruption of
Defendant South Carolina Department of Social Services, and is also employed by with
Defendant South Carolina Department of Social Services.
Defendant Katie Whaley, sued in individual and official capacities, and as a co-conspirator,
was at all times relevant to this Complaint a supervisor       • • • • • • for Defendant
South Carolina Department of Social Services
Defendant Rosemerry Commander, sued in individual and official capacities, and as a
co-conspirator, was at all times relevant to this Complaint employed by the judiciary serving
as a Family Court Judge.          '                          ~.
Defendant Mindy Zimmerman, sued in individual and official capacities, and as a
co-conspirator, was at all times relevant to this Complaint employed by the judiciary serving
as a Family Court Judge.
Defendant Matthew P. Turner, sued in individual and official capacities, and as a
co-conspirat&r, was at all times relevant to this Complaint employed by the judiciary serving
as a Family Court Judge .
        ..




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II.       Basis for Jurisdiction:

        42 U.S.C. §§1983. 1985, 1986. Each defendant, and all defendants, while acting under
color of state law, or conspiring with defendants acting under color of state law, have deprived
the Plaintiff's herein of their Fourteenth Amendment rights to not "be deprived of life, liberty or
property without due process of law."


         Fourteenth Amendment to the United States Constitution, its Due Process Clause,
guaranteeing each Plaintiff and all Plaintiffs that they will not "be deprived of life, liberty or
property without due process of law."


Ill.      Statement of Claim/Statement of Facts:

       1. At all times preceding the date of May 25, 2018 Plaintiffs were living together as a
          family unit, in suitable conditions, Ferris having sole legal custody of Lall and Stlll as
          a fit and functional parent, Ferris' live-in fiance of more than one year, Gary Thomas
          {hereinafter "Zak"), sharing parental responsibilities per Ferris ' wishes.
       2. On May 25, 2018, Defendant Porcha Moore became officially involved in the lives of
          the Plaintiffs, ordering Ferris to temporarily find alternative living arrangements for her
          minor children, L•and Salll.or be arrested and lose~ and S • permanently to
          foster care.
       3. Defendant Moore was able to confront Ferris alone and.coerced her.Jo involuntarily
          send Lai and !:lll&to the homes of Defendants Henson and Purnell, Defendant Moore
          thereby assuming full control of lAllf and Sia, labeling said control "emergency
          protective custody," contrary to Ferris' wishes and absent an affirmative finding of
          abuse or neglect through mandatory investigation conducted pursuant to South
          Carolina Code of Laws, §63-7-640
       4. On or about May 29, 2018, Defendant Moore and another case worker visited the
          Family apartment, unsuccessfully attempting to engage Ferris alone and
          unsuccessfully attempting to manipulate "consent" to DSS interference through a
          "safety plan".
       5. Gary Thomas dismissed Defendant Moore, terminating the home visit due to Moore
          becoming verbally abusive and threatening after he and Ferris politely refused consent
          to ''treatment plan" development and drug screening. At this time, Defendant Moore
          had not approached the Family Court for legal authorization to have assumed and to
          maintain custody and control of Ferris' children, South Carolina statutes mandating
          judicial emergency protective custody extension orders within 24 hours of removal.
          Defendant Moore had, in effect, kidnapped Ferris' children, LAl8and 3lal.
       6. Instead, Defendant Moore implemented a false Safety Plan with respect to Plaintiff l.11111.
          9Q        I false because it was not signed by a parent or legal custodian indicating
          consent to the plan. State law requires a parent's participation in a Safety Plan and, if




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      refused, DSS may petition the Court for authority to intervene and/or remove children
      upon a showing from the department that abuse or neglect has occurred against a
      named, identified child and by whom the abuse or neglect was inflicted.
  7. On May 31, 2018, Defendant Moore continued to threaten Ferris with foster care
      placement of her children if Ferris did not comply with Moore's orders regarding control
      of Ferris' children. Moore's text messaged threat read:
              "Hey I need you to call me. I'm getting information that you are not taking  s,...._
              to Gail and if that's the case 51111111 will be in foster care tomorrow"
  8. In response to the aforementioned threat, Gary Thomas returned the text:
              You have no grounds to be threatening further interference in the lives of Ferris
              and her children. You have no grounds or authority to demand anything of Ferris
              where her children are concerned. Fabricate any grounds and you will answer
              for it in a court not ruled by a family court judge.
  9. Also in response, Ferris called Defendant Moore and demanded a court order to back
      Moore's actions and threats, only to receive more unlawful threats and harassment
      from Moore, as well as Moore's continued exercise of custody and control over ferris'
      children.
  10. Defendant Moore implemented another false Safety Plan with respect to Plaintiff S..
               and that was completed prior to SIii's being transported to the home of Gail
      Henson, where Ferris was ordered to take S-.
  11. Defendant MoorEl assumec_t unlawful custody and unlawful control 9ver Plaintiffs
      children and maintained such from May 25, 2018 until June 19, 2018 without court
      authority and without seeking court authority by initiating a removal action and filing a
      petition required:by S.C. Code of Laws Sec. 63-7-1650 and 63-7-1660 and by the use
      of intimidation against Ferris, isolating Ferrjs from Zak with the intent to intimidate her
      into compliance.
  12.On June 5, 2018, Plaintiffs Ferris and Zak contacted Greenville County Sheriffs Office
      requesting police assistance in the retrieval of S.. and Lall from the home of George
      and Mary Jane Streets located in Greenville County, South Carolina. One Greenville
      County Deputy responded and is heard to say on the audio recording from that
      encounter refused to help Plaintiff Ferris retrieve her children, saying that Sllaand
      IJlllllwere in DSS custody, that even though Ferris had not signed it a Safety Plan was
      in place, and that the Safety Plan said that Plaintiff Ferris was not permitted to have
      any contact with Sara and L • at all.
  13.On June 14, 2018, Plaintiffs Ferris and Zak made another attempt to retrieve !:al,and
      Lalitfrom Hannah Pumell's home, also located in Greenville County, South Carolina.
      Several officers, one of which was a Sergeant, responded to the home of Defendant
      Hannah Purnell, also falling under the impression that the children had been removed
      by DSS due to the Safety Plan mentioned in paragraph 6 (above).
  14.On June 15, 2015, Plaintiff filed in the Laurens County Family Court a Complaint for
      Oustody and Return of Custody, clearly alleging that Moore had been using coercive
      tactics, threatening to get a court order if non-compliant with demands; Ferris attached
      to the Complaint a screenshot of the text message threats mentioned in paragraph 7




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      (above) and identified the action as a" DSS Removal Action" at the title of the
      document.
  15. Plaintiff Ferris's Complaint for Custody and Return of Custody, requesting an
      emergency hearing, is attached hereto and Incorporated herein by this reference.
  16.On May 31, 2018, Plaintiff emailed Defendant Martin at avery.martin@dss.sc.gov the
      following:

           Dear Mr. Avery Martin:

           I am writing to make you aware that a member of your staff has expressed an
           intent to usurp my parental authority by going to interview my 15 year old minor
           child against his consent and mine. Portia Moore indicates there is a statute
           authorizing her to override my parental authority, although she could not cite the
           statute for my reference.

           Attached is a recording of my 15 year old minor son in which he indicates he
           does not wish to be interviewed by DSS officials.

     ~     Please be aware that members of-your staff have been using intimidation and
           bullying tactics in order to acquire my consent for their intrusion into my family
           affairs. Thus far, there have been threats to arrest me (without just cause), to
           have police put my boyfriend on trespass notice from my apartment complex
           (also without just cause) as well as emergency removal of my children, although
           no grounds exist for such.

           DSS Involvement in my family life is both unwarranted and unwanted. There is
           no threat of imminent harm to either of my children, nor has there been any
           harm inflicted beyond the fear and anxiety that has been instilled by the unlawful
           intrusion into our lives by your staff. I am insisting that you order your staff to
           cease and desist all communication and harassment with myself, my children,
           my family, my neighbors and any other individual associated with my family
           unit.

           There will be no consent forthcoming from any of us to any further involvement
           of your agency in our lives. Additionally, any implied consent that may have
           construed from any cooperation thus far was misconstrued and any cooperation
           thus far has been the result and product of coercive tactics employed by your
           staff. Furthermore, there will be harassment charges and litigation to follow any
           further intrusion into my family life, however minute.

           Thank you in advance for your professional exercise supervisory authority and
           the regulation of the behavior of your subordinates.




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           Very truly yours,
           Ferris Harvley
                  864-923-2221


  17. Defendant Moore violated Ferris' wishes, thereby violating the privacy rights of
     Plaintiffs S..S       and IAII B • • • • by interrogating both of the minor children
     and arranging for them to be probed by mental health professionals, the results of
     which were disclosed to persons other than the Plaintiffs.
  18.On June 27, 2018, Plaintiff emailed Defendant Martin and Defendant Susan Alford at
     susan.alford@dss.sc.gov the following:

     Local and Statewide Directors:

                    By knowledge of and failure to correct Porcha Moore's kidnapping of my
            children, you are equally responsible for those unlawful actions. While
            you will be held accountable, each in your individual capacity, through our
            anticipated 42 U.S.C. 1983 action, I can only pray that you are held criminally
            liable also. It is beyond time for people in your ridiculous salary brackets to be
            punished for your deliberate indifference to the destruction DSS brings to far
            too many families and children. Kidnapping for the benefit of state financial
            gain. Sad, sick and long overdue for exposure.

                  Your reach into the family courts and corruption of its judges is due to
           your ongoing violation of our constitution's separation of powers clause (Article
           1, Section 8), a practice which was addressed by our Supreme Court in
           connection with solicitors controlling the general sessions docket in published
           opinion State v. Langford. Opinion No. 27195.

                 I believe that, with this fabricated case you all have insisted with pursuing
           for the state's financial gain, you have also given us standing to challenge your
           unlawful practice of working your select judges onto the bench to satisfy
           legislative requirements of judicial backing in the abductions the agency
           partakes in routinely. SCDSS \-: Massey. looks good for the judiciary, but in all
           reality, DSS has found its solution to the checked arrogance displayed before
           the appellate court in that case. Select your own judges. Simple answer to the
           problem Massey could have created for you.

               But when judges the likes of Zimmerman blatantly grant emergency hearings
           for the sole purpose of "legalizing" DSS kidnappings (there being no "abuse or
           neglect" upon which to issue orders depriving parents of their right to the
           custody and control of their own children) and basing such preposterous action
           on factors clearly and judicially declared irrelevant, after refusing the affected




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           parent any opportunity to present evidence or witnesses at the hearing sought
           by that parent herself on an emergency basis, the exposure DSS and its
           self-appointed judges is long overdue for is just about at hand.

               The proper course of action, where each of you are concerned, would have
           been to t~ke heed to report of the .Utegal conduct of Porcha Moore, as clearly
           expressed in our earlier emails. Yet, to do so would have disturbed the agency's
           hidden financial agenda. Supervisor liability and clearly established law pin you
           both, in your individual capacities of course, to an award of damages to the
           mother whose children you, on behalf of your corrupted, child-abusing agency. I
           think punitive damages, when a jury gets to hear the evidence your Zimmerman
           refused to allow into evidence on June 19th, 2018, could reach into the millions
           when it is disclosed to that jury the amount of revenue your agency receives for
           each kidnapped child shuffled through your system on a daily basis with the
           help of your prized Porcha Moores and Mindy Zimmennans.

           So take that "mental injury" to the bank!

    Yours Truly,

    Ferris Harvley and
    Advocate Fiance,
    Gary Thomas

 19. Plaintiff didn't receive a response from either email.
 20. Plaintiffs Zak and Ferris emailed several other times, copying all the individuals named
     as defendants herein with the exception of Defendants Hannah Purnell and Gail
     Henson, complaining of the actions of defendant more and the illegal nature of
     conduct, describing such thoroughly and repeatedly.
 21.On June 19, 2018, Zak was forbidden entrance into the hearing due to Porcha Moore
     having insistently excluded Zak from all other communications prior, claiming to do so
     because Moore was concerned about Zak being abusive, controlling and speaking for
     her instead of letting her make her own decisions.
 22. Defendant Moore had been able to intimidate Plaintiff, aware that Plaintiff was disabled
     due to seizures resulting from severe panic/anxiety attacks, until Zak got involved and
     demanded that the threats coming from Moore cease and that Moore get the court
     order that was required for child removal.
 23. Defendant Zimmerman barred Zak from the courtroom for the sole purpose of allowing
     Ferris to be taken advantage of at the hearing. Defendant Zimmerman did not inform
     Ferris of any right to appointment of counsel. Defendant Zimmerman would not allow
     Ferris to present any evidence in support of her Complaint. Zak being barred from the
     courtroom was the denial of witnesses for Ferris.




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  24. Defendant Zimmerman ordered that Zak be barred from having any contact
      whatsoever with the children, although there were no allegations that he had done
      them any harm or that he reasonably might. Defendant Zimmerman indicated that her
      decision to remove custody of Ferris' children from her, officially, was partially due to
      Plaintiff's seeking an order granting joint custody to Zak in order to ensure he could
      continue to protect their interests as he had done since his introduction to the family
      over a year prior.
  25. Defendant Zimmerman denied Ferris a reasonable opportunity to be heard on the
      Complaint that Zimmerman concluded warranted an emergency hearing, having
      granted to hearing on the basis of the Complaint.
  26. Defendant Zimmerman's conduct at the hearing was unlike that of any judge, failing to
      sanction DSS authorities for the unlawful conduct alleged in the Complaint and
      undenied by DSS officials, instead rewarding that conduct by granting the agency's
      request that custody of Plaintiff's children be officially awarded to individuals not
      otherwise having any right to custody of the children, and who only had physical
      custody due to Moore's initial threats of the children's placement in foster care, due to
      the refusal of defendants Deputy Vaughn, Unit A28, Deputy Freeman, Unit A27,
      Deputy Miller, Unit A37, of the Greenville County Sheriffs Office to retrieve Plaintiffs
      children on June 14, 2018 when summoned to assist in their retrieval, and due to the
      various threats from law enforcement when they were summoned to assist in the legal
      retrieval of Plaintiff SIiia and l...lla.
  27. Defendant Zimmerman's conduct was entirely contrary to the State's Judicial Oath,
      contrary to state judicial canons of ethics, and contrary to acceptable standards for
      judges, generally. Due process protections are an entitlement to parents whose
      children's custody is being considered for transfer from the parent against the parent's
      consent, but none of the procedural due process protections enumerated under code
      §63-7-1650 and/or §63-7-1660
  28. Defendant Zimmerman authorized DSS to remain as a Defendant to the action, labeled
      the action a "private action" which is unknown in South Carolina Rules of Civil
      Procedure and to which no procedures apply. Defendant DSS is not permitted, under
      South Carolina law, to intervene in the family unit, to offer protective services, with or
      without removing children from their homes, unless it file a petition requesting authority
      from the family court to intervene, providing the court with findings supported by a
      preponderance of the evidence that a child has been abused or neglected and cannot
      be protected from further harm without intervention from DSS or removal if necessary.
  29. The State Supreme Court, in SCDSS v. Randy S., 390 S.C. 100, 700 SE 2d 250
      (2010), has expressly identified the two statutory procedures through which DSS may
      become involved in family affairs:
              DSS has the statutory duty to investigate all reports of suspected child abuse
              and neglect. S.C.Code Ann.§ 63-7-900 (2010). Upon investigation, if DSS
              determines a preponderance of the evidence supports the conclusion a child is
              abused or neglected, it may petition the family court for authority to offer
              services with or without removal of the child from the parents' home.




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  30. There is nothing found in South Carolina law that authorizes DSS to be involved in
      family affairs without a court order or parental consent. Court order is only upon the
      showing of abuse or neglect as defined under code §63-7-20(6).
  31. Defendant Zimmerman did not state that there had been any findings by DSS that
      Ferris or Zak had abused or neglected either child or that they put the children at
      "substantial risk of physical injury or mental injury" as those terms are defined for DSS
      Removal statutes, found at §63-7-20 (16)("mental injury) and §63-7-20(20)("physical
      injury") of the South Carolina Code of Laws.
  32. Defendant Zimmerman did not state that there had been any findings by DSS that
      either or both of the children would be at risk of imminent harm if they were returned to
      Ferris' physical custody.
  33. Defendant Zimmerman issued an Order for Ferris and Zak to submit to drug screening
      immediately, although there had been no indication given during the proceedings that
      any drug use may have been in any way connected to allegations of abuse or neglect.
  34. By classifying the Complaint as the initiation of a private action, although all reasonable
      and credible evidence showed that it was in fact a DSS removal action, Defendant
      Zimmerman created a situation where DSS could not be held accountable to or
      expected to comply with any statutory provisions regarding DSS intervention/removal
      proceedings, because DSS removal statutes don't apply to private actions, therefore
      neither do the procedural due process protections guaranteed a parent under those
      statutes.
  35. Although DSS removal statutes and DSS intervention statues require a judicial finding
      of abuse or neglect, before a child can be removed from a home or from custody,
      Defendant Zimmerman permitted DSS to remain in the lives of the Plaintiffs without
      first meeting its evidentiary burden, thereby granting intervention unlawfully and
      stripping Ferris of all parental rights generally safeguarded by the legislative scheme.
  36. Defendant Zimmerman transferred custody away from Ferris over her objections and
      without any showing, from DSS or any other party, that Ferris was not fit to care for her
      children.
  37. By officially transferring custody to Defendants Purnell and Henson, giving full control
      of s- and Lato Defendants DSS, Defendant Zimmerman issued an Order that was
      intended to legalize/further the kidnapping of sa and 1.111111 exempting Defendant
      Moore and Defendant Commander from prosecution and leave Ferris without any legal
      recourse for challenging the legitimacy of the proceedings.
  38. Upon exiting the courthouse, Ferris was in the middle of an anxiety attack, visibly
      shaken by the unorthodox manner in which she was treated in response to a plea to a
      Family Court for the appropriate return of her unlawfully seized children.
  39. Defendant Moore approached Ferris and Zak, laughing as she handed drug screening
      referrals for them both to Zak. laughing and instructing them to comply immediately.
  40. Defendant Moore later sent Zak a text stating "you have your court order on your
      expense".




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  41. Ferris' condition prompted Zak to escort Ferris to the emergency room of the Laurens
      County Hospital in the event she was to be overtaken with stress/anxiety induced
      seizures.
  42. Ferris advised, after four hours, that she felt well enough that any seizures she may
      have would not likely require hospitalization.
  43. Zak returned with Ferris to the hospital later that same evening concerned enough that
      he felt it necessary to be in close proximity to the hospital.
  44. Ferris' anxiety attacks came and went throughout the following months, the more
      alarming incidents occurring while Zak was engaged in activities or communications
      related to seeking the return of his own daughter, s--.Mail'l 2 21 Nho had been
      the subject of litigation in Anderson, having been placed in foster care through a
      maliciously fraudulent Anderson County DSS removal action, initiated on the basis of
      what the agency knew to be perjured testimony of Zak's ex-wife and Defendant Katie
     Whaley.
  45. Ferris and Zak later filed a Motion to Vacate Zimmerman's Order on multiple grounds,
      including the Order's absence of findings that there has been an abused or neglected
      child.
  46. The Order also fails to state that there has been a Placement Plan approved by the
      Court, while the law mandates that If the Court orders that a child be removed from the
      custody of the parent or guardian, the Court must approve a placement plan.
  47. The Order fails to set forth a date within 35 days, for the holding of a Merits Hearing as
      is required by §63-7-1680.
  48. The Order signed by Defendant Zimmerman, transferring custody of Ferris' children to
      others, failing to mandate a placement plan, failing to set a merits hearing, and failing
      to set forth findings of fact and conclusions of law that include findings that by a
      preponderance of the evidence there is named an abused or neglected child and that
      the primary caretaker is responsible for that abuse, was clearly unlawful and would
      have been known to be unlawful to any judge overhearing child custody/child abuse
      cases.
  49. The Order signed by Defendant Zimmerman is void on its face.
  50. Zimmerman's Order is also void because due process minimum standards require
      some showing of parental unfitness, through reasonably trustworthy evidentiary
      hearings, parents necessarily afforded the opportunity to present evidence and
      witnesses in their defense, and to be heard by a non-biased, reasonable, judge, all of
      which has been denied Plaintiffs by declaring that the action was a private action and
      one subject to no rules or guidelines
  51. In roughly thirty minutes Defendant Zimmerman, acting in the favor of DSS, issued an
      order against Ferris that was obviously intended to assist the agency in the kidnapping
      of her children, effectuating the formal transfer of custody from Ferris (who had legal
      custody and was not declared, alleged to be, or found to be unfit) to individuals (neither
      of which requested custody) not within the jurisdiction of that Family Court, the children
      also being outside of the Court's jurisdiction. This was done contrary to any procedures
      outlined by statute or court rule, and was directly in conflict with the South Carolina




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      Court of Appeals decision in $COSS v. Randy$., 390 S.C. 100, 700 SE 2d 250 (2010)
      as stated above.
  52. No judge, lawyer, or anybody with legal knowledge could possibly believe that the
      appointment of DSS as a representative of individuals in any private child custody
      action, after they've violated all laws pertaining to them protecting children, after
      they've kidnapped children, would be in the best interest of the children at issue.
  53. No judge could possibly or reasonably believe that the legislature intended for there to
      be instances where DSS could become involved in family affairs not through any
      statutory guidelines governing the agency's conduct or protecting the children and
      parents interests with established time frames, procedures, and defined evidentiary
      standards.
  54. Ferris and Zak later filed a Motion to Vacate Zimmerman's Order on multiple grounds,
      including the Order's absence of findings that there has been an abused or neglect a
      child, and the complete departure from DSS Removal action statutory guidelines.
  55. On November 9, 2018, Defendant Turner was called upon to rule on the Motion to
      Vacate Defendant Zimmerman's Order, citing the Court of Appeals decision in $COSS
      v. Randy S:

            Father contends Children were improperly removed from his custody and the
            family court erred in failing to follow the proper statutory procedure following
            removal. Father argues as a result the family court erred in finding the case
            warranted both intervention and removal when DSS had only filed an action for
            intervention. We agree.




                   DSS has the statutory duty to investigate all reports of suspected child
            abuse and neglect. S.C.Code Ann. § 63-7-900 (2010). Upon investigation, if
            DSS determines a preponderance of the evidence supports the conclusion a
            child is abused or neglected, it may petition the family court for authority to offer
            services with or without removal of the child from the parents' home.




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              Pursuant to section 63-7-1650(A) of the South Carolina Code (2010), DSS
          may "petition the family court for authority to intervene and provide protective
          services without removal of custody if [DSS] determines by a preponderance of
          the evidence that the child is an abused or neglected child and that the child
          cannot be protected from harm without intervention." The family court is then
          required to hold a hearing within thirty-five days. See S.C.Code Ann. §
          63-7-1650(C)(2010). After the hearing, the family court may intervene and
          provide protective services if "the allegations of the petition are supported by a
          preponderance of the evidence including a finding that the child is an abused or
          neglected child as defined in [s]ection 63-7-20 and the child cannot be
          protected from further harm without intervention." S.C.Code Ann.§
          63-7-1650(E) (2010). Child abuse or neglect occurs when a parent "inflicts or
          allows to be inflicted upon the child physical or mental injury or engages in acts
          or omissions which present a substantial risk of physical or mental injury to the
          child, including injuries sustained as a result of excessive corporal punishment."
          S.C.Code Ann.§ 63-7-20(4)(a) (2010).

              Section 63-7-1660(A) of the South Carolina Code (2010) grants DSS
          authority to petition the family court to remove a child from custody of a
          parent if DSS "determines by a preponderance of evidence that the child is an
          abused or neglected child and that the child cannot be safely maintained in the
          home in that he cannot be protected from unreasonable risk of harm affecting
          the child's life, physical health, safety, or mental well-being without removal." As
          with intervention, the family court is also required to hold a hearing within
          thirty-fjye days of receipt of the petition to determine whether removal is
          necessary. S.C.Code Ann.§ 63-7-1660(0) (2010). The family court shall not
          order that a child be removed from the custody of the parent unless the
          allegations in the petition are supported by a preponderance of evidence
          including a finding that the child is an abused or neglected child as previously
          defined and "that retention of the child in or return of the child to the home would
          place the child at unreasonable risk of harm affecting the child's life, physical
          health or safety, or mental well-being and the child cannot reasonably be
          protected from this harm without being removed." S.C.Code Ann.
          §63-7-1660(E)(2010). If the family court removes custody of the child, the
          court's order shall contain a finding of whether DSS made reasonable efforts to
          prevent removal and a finding of whether continuation of the child in the home
          would be contrary to the welfare of the child. S.C.Code Ann.§ 63-7-1660(G)
          (2010). Pursuant to section 63-7-1660(G)(1}-(4):

                 The order shall state: ( 1) the services made available to the family before
                 the removal of the child and how they related to the needs of the family;
                 (2) the efforts of the agency to provide these services to the family before
                 removal; (3) why the efforts to provide services did not eliminate the need
                 for removal; and (4) whether the efforts to eliminate the need for removal
                 were reasonable ...




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             Within twenty-four hours after a child is taken into EPC, DSS is required to
          conduct a preliminary investigation to determine whether EPC was proper and
          whether a means to avoid removal from the home exists. S.C.Code Ann.
          §63-7-640 (2010). If DSS determines probable cause exists that a "child's life,
          health, or physical safety is in imminent and substantial danger'' because of
          abuse or neglect, DSS may assume legal custody of the child. S.C.Code Ann.
          §63-7-660 (2010). DSS is then required to initiate a removal proceeding
          pursuant to section 63-7-1660 on or before the next working day after
          initiating the investigation. S.C.Code Ann.§ 63-7-700(8)(1) (2010). The
          family court is then regujred to hold a probable cause hearing within
          seventy-two hours of the time the child was taken into EPC and conduct a
          merits hearing within thirty-five days. S.C.Code Ann. §63-7-710(A), (E) (2010).

               If a child is removed from the home, the family court must approve a
          placement plan, which DSS must submit in writing to the family court at the
          removal hearing or within ten days after the removal hearing. S.C.Code Ann.§
          63-7-1680(A)(2010). The family court is then required to conduct a
          permanency planning hearing "no later than one year'' following removal of a
          child. S.C.Code Ann.§ 63-7-1700(A) (2010). "At the initial permanency
          planning hearing, the court shall review the status of the child and the progress
          being made toward the child's return home or toward any other permanent plan
          approved at the removal hearing. The family court's order is required to make
          specific findings in accordance with this section." Id

          [1] Initially, we note that pursuant to section 63-7-1650, DSS brought this
          child abuse and/or neglect proceeding as an action for intervention. At the time
          DSS filed its complaint, Children were not in Father and Mother's custody, and
          at no point did DSS move to amend its complaint to seek relief pursuant to the
          removal statute, section 63-7-1660.

             When law enforcement arrived at Father's home, rather than have law
          enforcement take Children into EPC, Father agreed to place Children with
          relatives. Subsequently, Father filed a motion requesting the family court return
          Children to his custody, arguing Children were improperly removed from his
          home when D55 did not file a petition for removal. Despite DSS's contention
          that this was only an intervention action, we find the evidence supports a finding
          that Children were removed from Father's custody.




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            (2]. As a result, we find the family court erred in granting custody of Children to
            Aunt and allowing DSS to close its case because intervention does not
            contemplate placement of children with third parties. Instead, the statute
            specifically states its purpose is to "intervene and provide protective services
            without removal."§ 63-7-1650(A) (emphasis added). Because DSS in actuality
            initiated a removal action instead of an intervention action, it was required to
            follow the statutory procedures for removal and file a petition with the
            family court after Children were taken into EPC. Then, the family court would
            have conducted a probable cause hearing within seventy-two hours and

            determined whether probable cause existed for DSS to assume legal custody of
            Children. If the family court determined probable cause existed to remove
            Children from the home, a merits hearing should have been conducted within
            thirty-five days. Here, Children were out of the home for almost eleven months
            before a merits hearing was held on April 20, 2007. By following the
            comprehensive scheme outlined in the statutes, Father would have been
            afforded the safeguards the statutes are designed to provide.

     100 SC at 103-107

  56. Despite the appellate court's clarity and its use of mandatory languages, Defendant
      Turner denied the Motion to Vacate without stating any reason other than it was a
      private action. Knowing that there had been no hearings or any due process
      protections normally afforded parents in DSS removal actions, Defendant Turner, also
      aware that DSS was acting outside of any statutorily defined boundaries and entirely
      inconsistent with legislative intent, was not performing a judicial act when he denied
      the Motion to Vacate. Defendants Commander and Agger were at the defense table in
      a case where all the facts show that DSS was exercising control over Ferris' children,
      regardless of whether or not they actually had physical custody. There is no mistaking
      the absurdity in that. It would be absurd also to believe that the legislature had any
      intent for its laws to be circumvented by improper designation of parties.

  57. Plaintiff Ferris and Zak also made a Motion to Dismiss for Lack of Jurisdiction, the
      children having been in Greenville County since May, the Court's first action in or
      hearing of the case June 19, 2018 in Laurens County. Pursuant to statutes and court
      rules the family court had no jurisdiction over the children at issue and therefore had no
      jurisdiction to order their placement or custody remain with residents of Greenville
      County who were also outside of the courts jurisdiction. Not addressing the issue of
      the children being subject to jurisdiction, Defendant Turner denied the Motion to
      Dismiss for Lack of Jurisdiction.

  58. In open court, Zak made an oral Motion to Dismiss for Lack of Evidence. Without
      opposition from any of the Defendants present, Zak announced that Zimmerman's
      order contained no findings of abuse or neglect, as required by South Carolina
      removal statutes. Without opposition from any of the Defendants present, Zak also




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     declared that Ferris' children had been kidnapped six months prior, their removal
     effectuated by threats against Ferris, their retention effectuated by falsified Safety
     Plans that do not and cannot be authoritative absent parent/legal guardian cooperation
      and participation, which includes a signature.
  59.Zak also declared, without objection or opposition, that there had been no findings at
      any time or even any allegations anywhere in the record that could possibly justify
      Ferris not having physical custody of her children (although she still had legal custody
      because there had never been a finding of parental unfitness).
  60. Zack challenged Defendant Commander to provide the Court with any reason
      whatsoever that should preclude Ferris from regaining physical custody of her children.
      There was no answer from Commander or any of the other Defendants. Defendant
      Turner did not ask for any answer as he denied the Motion to Dismiss for Lack of
      Evidence.
  61. Plaintiffs' demanded a Final Order from which they may appeal and were denied.
  62. Defendant Pam Bryant was assigned to investigate a number criminal actions
      employed by Defendants Moore, Whaley, Commander in child removal proceedings.
      Defendant Bryant was assigned the investigations by the Office of the Inspector
      General after Ferris and Zak both submitted complaints to that office regarding same.
  63.Zak identifies DSS supervisor Katie Whaley as one who committed perjury in a sworn
      Complaint for Removal, and during testimony, at a probable cause hearing set for the
      removal of his then 6-year-old daughter S.- MIIII 11           Zak provided the Office
      of Inspector General and Defendant Bryant with copies of transcripts in reference to
      particular statements in the Complaint for Removal that conflicted with one another,
      could not be harmonized, some that did not exist, and other statements that were
      intentionally misleading.
  64. Zak illustrated how Defendant Whaley has conspired with his former wife Tiffany
      Thomas to commit perjury to prevent him from receiving custody of S. . .
  65. Tiffany committed perjury at in August 31, 2016 Order of Protection hearing, offering
      the testimony:

            "But Mr. Thomas is an at risk sexual predator on the DSS Central database."

  66. Defendant Whaley sat present the entirety of the August 31 2016 Order of Protection
      hearing, hearing all testimony from Tiffany Thomas and Zak, recording the same,
      purportedly in furtherance of an investigation that began August 5, 2016. Defendant
      Whaley's sworn Complaint for Removal recited the above testimony incorrectly, as
      follows, combined with additional surrounding falsified statements consistent with and
      in furtherance of concealing Tiffany Thomas' perjury:




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             "... Ms.Thomas put up testimony that Mr.. Thomas has previously sexually
             abused another child and was found guilty to be an "at-risk sexual predator'' -on
             the DSS central database."
  67. Defendant Whaley knew that Tiffany was committing perjury by making the statement
      above and edited the statement to lend credibility to Tiffany Thomas perjury and to
      contribute to Tiffany Thomas assassination of Zak's character without Whaley being
      confronted with her failure to notify the court as to the veracity of the witness based on
      personal knowledge.
  68. Tiffany Thomas knew that Katie Whaley and David Vickery, both sitting in the
      courtroom, would know that her statement was perjured. Other perjured statements
      from Tiffany Thomas went undiscovered and were recited by Katy Whaley in the
      Complaint for Removal, used on September 2, 2016 to effectuate the taking of and
      keeping of S       MIia I
  69. Defendant Whaley's Complaint contained two other statements, consistent with each
      other, although falsified entirely, and obviously aimed at interfering with Zak's right to
      the custody of Sarah.
  70. The first statement Whaley fabricated, purportedly derived from testimony Zak gave at
      the August 31 2016 hearing:

            Mr. Thomas put up testimony that while Ms. Thomas was in law enforcements
            custody for her charge, he went to the home of \?anessa Chadwick and took
            ~ . violating a court order that reads he may only have supervised visitation.

  71. And purportedly from Tiffany Thomas' testimony:

            There was a testimony heard that Mr Thomas has stalked Ms. Thomas and
            taken the child despite a court order stating he is only allowed supervised
            visitation

  72. PLAINTIFFS RESERVE THE RIGHT TO AMEND THIS COMPLAINT TO ADD
      ADDITIONAL PARTIES AND/OR CLAIMS AS THE DISCOVERY PROCESS
      ADVANCES.

     FURTHER, AFFIANT SAYETH NOT.




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              IV.       Relief:

                    WHEREFORE, Plaintiffs respectfully pray this Honorable Court grant the following relief:

                    1. Emergency injunctive relief, in the form of Orders commanding the Defendants herein
                        named, and their agents, to cease immediately all offenses continuing to impede upon
                        and violate Plaintiffs' rights as guaranteed by the United States Constitution.
                    2. Compensatory damages awarded to Plaintiffs in the amount of ten million dollars
                        ($10,000,000) against each defendant and against all defendants.
                    3. Punitive damages awarded to Plaintiffs in the amount of fifty million dollars
        .,S

    ,                   ($50,000,000) against each defendant and against all defendants.
                    4. An award of costs to Plaintiffs for all expenses incurred as a result of this litigation and
                        all incidents herein described.
                    5. And any and all other relief this Honorable Court deems just and appropriate.

              V.         Certification and Closing

              I agree to provide the Clerk's Office with any changes to my address where case-related
              papers may be served. I understand that my failure to keep a current address on file with the
              Clerk's Office may result in the dismissal of my case .
                             •
                       BEING FIRST DULY SWORN, Gary Z. Thomas deposes and says: I am one of the
              Plaintiffs named in this case, representing the best interests of all Plaintiffs named in this
              case, have prepared and proofread this Complaint, attesting the same to be true in its
              entirety.

J
              Signed this~day of November, 2018.




                                                                                                Gary Thomas, Plaintiff pro se




              SUBSCRIBED AND SWORN to before me                ~ ,Tti t1- l.cA~                    Notary Public in and for
              the state of South Carolina. My commission expires:        inc,,,       zs;          ..,,,..,                       ,, \ \ ,.\   \



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